       Case 3:12-cv-00985-CRB Document 73 Filed 07/17/12 Page 1 of 4



 1   KAMALA D. HARRIS
     Attorney General of California
 2   TYLER PON
     Supervising Deputy Attorney General
 3   MOLLY S. MURPHY
     Deputy Attorney General
 4   State Bar No. 149907
      300 South Spring Street, Suite 1702
 5    Los Angeles, CA 90013
      Telephone: (213) 897-6024
 6    Fax: (213) 897-2810
      E-mail: Molly.Murphy@doj.ca.gov
 7   Attorneys for defendants Kamala D. Harris,
     Benjamin Diehl and James Toma
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 9
                             IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

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14   MITCHELL J. STEIN, ET AL.,                          CV12-0985CRB
15                                        Plaintiffs, Related to CV12-0987CRB
16                 v.
                                           REQUEST FOR TELEPHONIC
17                                         APPEARANCE FOR AUGUST 3, 2012
     KAMALA D. HARRIS, ET AL.,             HEARING RE DEFENDANTS’ MOTION
18                                         TO DISMISS FIRST AMENDED
                               Defendants. COMPLAINT; DECLARATION OF
19                                         MOLLY S. MURPHY [PROPOSED]
                                           ORDER
20
                                                         Date: August 3, 2012
21                                                       Time: 10:00 a.m.
                                                         Courtroom: 6
22                                                       Judge: Hon. Charles R. Breyer
                                                         Trial Date: None
23                                                       Action Filed: 2/27/12
24        Molly S. Murphy, counsel for defendants Kamala D. Harris, Benjamin Diehl and James
25   Toma (“Attorney General defendants”), respectfully requests to appear via telephone for the
26
     hearing scheduled on August 3, 2012 at 10:00 am in Courtroom 6 of this Court, the Honorable
27
     Charles Breyer presiding, on the Attorney General defendants’ Motion to Dismiss plaintiffs’ First
28
                                                     1
                                                              Request for Telephonic Appearance (CV12-0985)
       Case 3:12-cv-00985-CRB Document 73 Filed 07/17/12 Page 2 of 4



 1   Amended Complaint. Ms. Murphy is the handling attorney for the Attorney General defendants
 2   in this action. She is the only parent of a six year old child, resides in Los Angeles, and does not
 3
     have overnight child care. A 10:00 am hearing on August 3, 2012 is likely to require an
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     overnight stay in San Francisco on August 2, 2012. Therefore, a telephonic appearance is
 5
     requested and would be deeply appreciated.
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 7

 8
     Dated: July 16, 2012                                  Respectfully submitted,
 9
                                                           KAMALA D. HARRIS
10                                                         Attorney General of California
                                                           TYLER PON
11                                                         Supervising Deputy Attorney General

12

13                                                         /s/ Molly S. Murphy
                                                           MOLLY S. MURPHY
14                                                         Deputy Attorney General
                                                           Attorneys for Kamala D. Harris, Benjamin
15                                                         Diehl and James Toma

16

17                                         [PROPOSED] ORDER

18          The request of Molly S. Murphy to make a telephonic appearance at the August 3, 2012

19   10:00 a.m. hearing on defendants’ Motion to Dismiss plaintiffs’ First Amended Complaint is

20   GRANTED.
21

22          July ___, 2012                        __________________________
                                                   United States District Judge
23

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                                                       2
                                                              Request for Telephonic Appearance (CV12-0985)
       Case 3:12-cv-00985-CRB Document 73 Filed 07/17/12 Page 3 of 4



 1                         DECLARATION OF MOLLY S. MURPHY
 2
            I, MOLLY S. MURPHY, HEREBY DECLARE:
 3
            1.      I am an attorney at law, a Deputy Attorney General and counsel of record for
 4

 5   defendants Kamala D. Harris, Benjamin Diehl and James Toma (“the Attorney General

 6   defendants”) in this action. The matters stated herein are within my personal knowledge and I

 7   would and could testify competently thereto if called upon to do so.
 8
            2.      I am the handling attorney for the Attorney General defendants in this action.
 9
            3.      I am the only parent of a six year old child. We reside in Los Angeles and do not
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     have other relatives in the State of California. I do not have overnight child care. To be on time
11

12   for a 10:00 a.m. hearing in this Court on August 3, 2012, it would be advisable to travel to San

13   Francisco from Los Angeles on August 2, 2012, which would require an overnight stay away

14   from my child. I request and would deeply appreciate a telephonic appearance for the August 3,
15   2012 hearing due to my child’s need for supervision and care.
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17
            I declare under penalty of perjury under the laws of the State of California and the United
18
     States of America that the foregoing is true and correct and that this declaration was executed on
19

20   July 16, 2012 at Los Angeles, California.

21                                                /s/ Molly S. Murphy
                                                  Molly S. Murphy
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                                                      3
                                                             Request for Telephonic Appearance (CV12-0985)
         Case 3:12-cv-00985-CRB Document 73 Filed 07/17/12 Page 4 of 4




                              CERTIFICATE OF SERVICE
Case Name:     Mitchell Stein, et al. v. Kamala            No.     CV12-0985CRB
               D. Harris, et al.

I hereby certify that on July 17, 2012, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
REQUEST FOR TELEPHONIC APPEARANCE FOR AUGUST 3, 2012 HEARING RE
DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT;
DECLARATION OF MOLLY S. MURPHY [PROPOSED] ORDER

I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on July 17, 2012, at Los Angeles, California.


                 Sue Ng                                               /s/ Sue Ng
                Declarant                                              Signature
